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   IT IS ORDERED as set forth below:



   Date: August 31, 2018
                                                      _________________________________

                                                                   Sage M. Sigler
                                                            U.S. Bankruptcy Court Judge

  ________________________________________________________________


                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

   IN RE:                                               :       CHAPTER 11
                                                        :
   AMERICAN UNDERWRITING                                :       CASE NO. 18-58406-SMS
   SERVICES, LLC,                                       :
                                                        :
            Debtor.                                     :

     ORDER APPROVING EMPLOYMENT OF ACCOUNTANTS, SUBJECT TO
                          OBJECTION

            On August 24, 2018, S. Gregory Hays, the Chapter 7 Trustee in the above-styled

   case (the “Trustee”), filed an application for approval of employment of Hays Financial

   Consulting, LLC (“Firm”) as accountants for Trustee [Doc. No. 122]. It appears that

   Firm is qualified to represent Trustee in this case and that they represent no interest

   adverse to the Debtor or Debtor’s estate in the matters upon which they are to be

   engaged, and that their employment is necessary and is in the best interests of the estate;

   accordingly, it is hereby
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          ORDERED that pursuant to 11 U.S.C. § 327 and Bankruptcy Rule 2014, Trustee

   is hereby authorized to employ Hays Financial Consulting, LLC as accountants to

   Trustee in this case for the purposes and terms specified in the Application For Approval

   of Employment of Hays Financial Consulting, LLC as Accountants for the Trustee for

   reasonable compensation and reimbursement of expenses as the Court may award under

   applicable law after notice and hearing based upon an application to be filed in the case

   as of July 27, 2018, the Chapter 7 conversion date. No payments or reimbursement of

   expenses shall be made to Firm without Court approval pursuant to applicable law.

          ORDERED that this Order is entered subject to written objection of the U.S.

   Trustee or any other party in interest within twenty-one (21) days from the date of entry

   of this Order. Any objection to this Order shall be served on the United States Trustee,

   Trustee, and proposed accountants for Trustee. If an objection is timely filed, then

   Trustee shall schedule a hearing on the Application and such objection pursuant to the

   Court’s open Calendar Procedures, and shall provide notice of such hearing to the United

   States Trustee and the objecting party.


                                   [END OF DOCUMENT]


   Draft order prepared and presented by:

       /s/ S. Gregory Hays
   S. Gregory Hays
   Chapter 7 Trustee

   Hays Financial Consulting, LLC
   2964 Peachtree Street, NW
   Suite 555
   Atlanta, Georgia 30305
   (404) 926-0060
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   Identification of parties to be served:

   Office of the U.S. Trustee
   362 Richard B. Russell Bldg.
   75 Ted Turner Drive, SW
   Atlanta, GA 30303

   S. Gregory Hays
   Hays Financial Consulting, LLC
   2964 Peachtree Road, NW
   Suite 555
   Atlanta, GA 30305

   Benjamin S. Klehr
   Small Herrin, LLP
   Suite 200, Two Paces West
   2727 Paces Ferry Road
   Atlanta, GA 30339

   American Underwriting Services, LLC
   1255 Roberts Blvd
   Suite 102
   Kennesaw, GA 30144
